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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA

                              CASE NO. 19-8100-WM

 UNITED STATES OF AMERICA,

       Plaintiff,

 vs.

 YUJING ZHANG,

       Defendant.
 ___________________________________/

                      NOTICE OF REQUEST FOR DISCLOSURE
                        OF EXPERT WITNESS SUMMARIES

       The defendant, Yujing Zhang, through undersigned counsel, demands

 disclosure under Fed. R. Crim. P. 16(a)(1)(G) of expert testimony the government

 intends to introduce at trial during its case-in-chief. As to each potential expert

 witness, the government should disclose the name of the expert witness, the

 witness' qualifications, present employment, a summary of the witness' opinion, and

 the bases and reasons for the opinion.

                                          Respectfully submitted,

                                          MICHAEL CARUSO
                                          FEDERAL PUBLIC DEFENDER

                                          By: s/Robert E. Adler
                                          Robert E. Adler
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                        CERTIFICATE OF SERVICE

       I HEREBY certify that on April 2, 2019, I electronically filed the

 foregoing document with the Clerk of the Court using CM/ECF. I also

 certify that the foregoing document is being served this day on all

 counsel of record via transmission of Notices of Electronic Filing

 generated by CM/ECF or in some other authorized manner for those

 counsel or parties who are not authorized to receive electronically

 Notices of Electronic Filing.



                                    s/Robert E. Adler
                                    Robert E. Adler
